     Case 4:12-cr-00503 Document 270 Filed on 02/10/22 in TXSD Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

UNITED STATES OF AMERICA,                 )

v.                                        )     Case No. 4:12-cr-00503

JASON DANIEL GANDY.                       )

               MOTION TO WITHDRAW AS COUNSEL

      Attorney Brandon Sample and Brandon Sample PLC respectfully

move to withdraw as counsel for Jason Gandy. In light of two recent

submissions by Mr. Gandy to the Court (ECF 266 & 269) and the fact

that Mr. Sample and his Firm appeared only as § 2255 counsel, the Court

should permit withdrawal of Mr. Sample and his Firm.

                                    Respectfully submitted,

                                    /s/ Brandon Sample
                                    Brandon Sample
                                    Brandon Sample PLC
                                    1701 Pennsylvania Ave. N.W.
                                    Washington, DC 20006
                                    Phone: (202) 990-2500
                                    Fax: (202) 990-2600
                                    Email: brandon@brandonsample.com
                                    https://brandonsample.com




Motion to Withdraw as Counsel                                        Page 1 of 2
    Case 4:12-cr-00503 Document 270 Filed on 02/10/22 in TXSD Page 2 of 2




                       CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was served

this 10th day of February 2022, via CM/ECF on all counsel of record.

                                   /s/ Brandon Sample
                                   Brandon Sample




Motion to Withdraw as Counsel                                       Page 2 of 2
